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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Related to Docket No. 6090
Hearing Date: November 29, 2010 at 10:00 a.m.

NOTICE OF FILING PROPOSED JOINT DISCLOSURE STATEMENT

PLEASE TAKE NOTICE that attached hereto is the proposed Joint Disclosure Statement For
The Following Plans Of Reorganization:

1) Joint Plan Of Reorganization For Tribune Company And Its Subsidiaries Proposed
By The Debtors, The Official Committee Of Unsecured Creditors, Oaktree Capital
Management, L.P., Angelo, Gordon, And Co., L.P., And JPMorgan Chase Bank,
N.A,;

2) Joint Plan Of Reorganization For Tribune Company And Its Subsidiaries Proposed
By Aurelius Capital Management, LP, On Behalf Of Its Managed Entities, Deutsche
Bank Trust Company Americas, In Its Capacity As Successor Indenture Trustee For
Certain Series Of Senior Notes, Law Debenture Trust Company Of New York, In Its
Capacity As Successor Indenture Trustee For Certain Series Of Senior Notes And
Wilmington Trust Company, In Its Capacity As Successor Indenture Trustee For The
Phones Notes;

| The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company (0355); 435
Production Company (8865); 5800 Sunset Productions Inc, (5510); Baltimore Newspaper Networks, Inc. (8258); Califomia Community News Corporation (5306);
Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago Avenue Construction Company (8634);
Chicago River Production Company (5434); Chicago Tribune Company (3437); Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc.
(3167), ChicagoLand Microwave Licensee, Inc. (1579); Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty
Products, Inc, (9221); Direct Mail Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle
Publishing Investments, LLC (6327), forsalebyowner.com corp. (0219), ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation (5628);
Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc, (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc. (9808); Homeowners Realty, Inc.
(1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Internet Foreclosure Service, Inc. (6550);
JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc. (7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los
Angeles Times Communications LLC (1324); Los Angeles Times International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing
Company (6522); NBBF, LLC (0893); Neocomm, Inc, (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc.
(7335); North Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel Communications News
Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc. (1455); Star Community Publishing Group,
LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368); The Hartford Courant
Company (3490); The Morning Call, Inc. (7560), The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll
Processing Company, Inc. (4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS 1, Inc. (0719); TMS Entertainment Guides, Inc. (6325);
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company
(2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California
Properties, Inc. (1629), Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune Entertainment
Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service Center, Inc. (7844); Tribune License,
Inc, (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (7847); Tribune Media Services, Inc.
(1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company
(9720); Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest,
Inc. (2975); ValuMail, Inc, (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f’k/a
WTXX Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and WPIX, Inc.
(0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago, Illinois 60611.

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3) Joint Plan Of Reorganization For Tribune Company And Its Subsidiaries Proposed
By King Street Acquisition Company, L.L.C., King Street Capital, L.P. And
Marathon Asset Management, L.P.; and

4) Plan Of Reorganization For Tribune Company And Its Subsidiaries Proposed By
Certain Holders Of Step One Senior Loan Claims.

PLEASE TAKE FURTHER NOTICE that, the Debtors reserve the right to further amend
and/or modify the proposed November 23, 2010 Disclosure Statement.

Dated: November 23, 2010

SIDLEY AUSTIN LLP COLE, SCHOTZ, MEISEL,
James F. Conlan FORMAN & LEONARD, P.A.
Bryan Krakauer

Janet E. Henderson /s/__J. Kate Stickles

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Counsel for Debtors and Debtors In Possession

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